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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA


GREGORY WEST ENTSMINGER,             )               3:16-cv-00555-MMD-WGC
                                     )
                        Plaintiff,   )               MINUTES OF THE COURT
        vs.                          )
                                     )               October 27, 2020
ROMEO ARANAS, et al.,                )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:        KAREN WALKER           REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       The court has been advised by the U.S. Marshal Service that it did not receive the sealed
addresses for Defendants Link and Fanyo as the court’s order of October 8, 2020 (ECF No. 262)
referenced the wrong document number for the sealed addresses for these Defendants.

        IT IS THEREFORE ORDERED that the Clerk shall issue summonses for Jennifer Link
and Alisha Fanyo and send the same to the U.S. Marshal with the addresses provided under seal
(ECF No. 259). The Clerk shall also send two (2) copies of the Second Amended Complaint
(ECF No. 18), two (2) copies of the court’s Screening Order (ECF No. 21), and two (2) copies of
this order to the U.S. Marshal for service on the Defendants.

     IT IS FUTHER ORDERED that Plaintiff shall have to and including Friday,
November 20, 2020, in which to effect service on Defendants Link and Fanyo.

                                            DEBRA K. KEMPI, CLERK

                                            By:        /s/______________________
                                                   Deputy Clerk
